Case 3:19-mc-80005-SK Document 12-2 Filed 04/09/19 Page 1 of 7

EXHIBIT B
Case 3:19-mc-80005-SK Document 12-2 Filed 04/09/19 Page 2 of 7
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Posted by u/funkalunatic 6 days ago |
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SORTBY BEST w

4 ClosetedIntellectual Sexual Warrior © Scorehidden + 6daysago - Stickied comment

® Wonderful news. On behalf of the mods- massive thanks to any and everyone who has seen our
community's abuse and has responded in our defense. I hope that justice will be served.
Well done, Spilver, and everyone else who found the means to fight back. You give us hope.

Contact: corynne@eff.org Phone: +1 415 436 9333 x122 PGP Key: Plain text icon
pubkey_corynne.txt Twitter handle: @cmcsherr

Email Address: alex@eff.org Phone: 415.436.9333 ext. 160 Twitter handle: @alexhmoss

@ Reply Share Report Save

4 salty_bastard_guy 24 points - 6 days ago
% LolI love /u/darkspilver

He always has A TON of unbiased sources and news articles. This might not be the case every time,
but the work he is doing is top notch.

™@ Reply Share Report Save

4 salty _bastard_guy 18 points - 6 days ago

¥

https:/Avww.reddit.com/r/exiw/comments/b5x1p0/eff_backs_redditor_in_fight_to_stay_anonymous/ 16
Case 3:19-mc-80005-SK Document 12-2 Filed 04/09/19 Page 3 of 7
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e & v Q Search r/exjw a v7

Best of luck /u/darkspilver
@ Reply Share Report Save

4 TerryLawton Overlapping what? Matt1v17 20 points - 6 days ago
® Best of luck u/darspilver

I got two subpoena's myself so i know what your going thru, unfortunately I left it too late for EFF
to get invloved but the principle in EFF is waiting in the wings to see if they want to go to court,
then they will kick in. Mr Nazer is a wonderful guy in there and he is chomping at the bit for
Watchtower.

My old youtube handle was TheUnReluctant.

So for any Watchtower scumabg lurkers reading this.
Tell Paul Dolidoro and Phil Brumley from me.....bring it on.....bring it on.

And dont bother sending me a cease and desist letter, it will be returned with the following in large
Red Bold ink.

"Suck my spiritual balls!"
® Reply Share Report Save

4 wondering-soul i point - 5 days ago
% What did you do to get subpoenaed?
@ Reply Share Report Save

4 = TerryLawton Overlapping what? Matt 1v17 3 points . 5 days ago

* Nothing much bud, just annoyed them with the stuff i was finding out i.e nice big houses (i
think is for the GB, but without a PI to sit outside and watch who is going in and out of
them, i can never confirm it, but what does the society need houses worth millions of dollars
for when they have one of the biggest cult compounds in the world just down the road from
Tuxedo park) purchased in Tuxedo park near Warwick in a lovely secluded private grounds
amongst other financial elements that got under their skin and up their nose.

I made an error by uploading a leaked video, and that was there IN to send out the dogs....

Lesson learned.
@ Reply Share Report Save

4 urattorney 2 points - 22 hours ago
® could you pm me with more info, i regularly travel and would love to investigate this
more.

™@ Reply Share Report Save

4 fnatic_questions 1g+1g=1g ‘point - 18 hours ago

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@ Reply Share Report Save

=lov/70 18 points - 6 days ago
That is quite telling that WT is going after Reddit posters. They are no doubt hoping it will have a
chilling effect on the forum.

¢>»>

@ Reply Share Report Save

4 MindlessReception Donkey dicks and horse genitals (*5*) (3%) 416 points - 6 days ago
® Lmao. "chilling effect” my ass. We're always gonna fight, and always gonna actually
unconditionally support and defend our brethren that fight in enemy territory.

@ Reply Share Report Save

4 Asterios390528 3 points - 3 days ago
® EFF has made my donation list this year. Will include note that it's because of this.
@ Reply Share Report Save

4 Askmeaboutmy_Beergut "Somebody's gonna have to give up some booty" -Fleece Johnson 14 points - 6 days ago
% The contact info for the EFF reps in the article should be stickied here.

If watchtower thinks they can bully people through subpoenas they're wrong according to this
article. The article says most stuff is fair use and courts routinely squash these baseless subpoenas
AND...as the article says "the watchtower lawyers should know this!"

Looks like this is a good way to fight the bozo lawyers in Warwick on their little witch hunt.

™@ Reply Share Report Save

4  ClosetedIntellectual Sexual Warrior 2 points - 6 days ago
& Done!
@ Reply Share Report Save

4 Askmeaboutmy_Beergut "Somebody's gonna have to giveups... 7 points - Sdaysago - edited 5 days ago
W Also, didn'tJohn Redwood have a list of all the subpoenas watchtower had issued on like an
excel spreadsheet or on some website?

I would forward that entire list to the EFF contacts so they could try to squash all these
subpoenas. Every subpoena should automatically be forwarded to the EFF.

The GB are bullies and so are their lackey lawyers. These guys live in a jW bubble and are
used to bullying the R&F. But that doesn't work here in the real world.

ALSO....At what point does this wade into harrasement by these lawyers? I'd like to get an
opinion on that. Because IF all these subpoenas get tossed can the behavior of the
watchtower lawyers rise to the level of harrasement of a group? IDK just spitballing here.

™ Reply Share Report Save

4 ClosetedIntellectual Sexual Warrior 1point - 5 days ago

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@ Reply Share Report Save

4 =<evinmcfree LEGO of yourjdub dogma 14 points - 6 days ago
% its just wonderful to see EFF do this. EFF helped me get a lawyer for this exact same thing, and the
motion to quash used similar language.

my hope is that once the court starts getting more of these motions to quash and seeing
watchtowers true agenda they will stop spitting out these ridiculous subpoenas.

@ Reply Share Report Save

4 ClosetedIntellectual Sexual Warrior 3 points - 6 days ago
% Same. When will you know what the result was in your case?
@ Reply Share Report Save

# kevinmcfree LEGO of your jdubdogma 7 points - 5 days ago

@ the court doesnt appear interested in dealing with it. so ive not heard anything this year
despite watchtower presenting another motion to compel.
no news is good news
™ Reply Share Report Save

# ClosetedIntellectual Sexual Warrior 2 points - 5 days ago
% Iguess so!
@ Reply Share Report Save

Asterios390528 2 points - 3 days ago

Can I ask - for future readers - do you have tips on what not to do, so as to reveal your
identity here? Did you post some relevant photo or something? I'm confused as to how
the org managed to even determine who you are let alone send out the legal dregs.

€>

@ Reply Share Report Save

4 kevinmcfree LEGO of your jdub dogma 2points - 3daysago - edited 2 days ago

% a general tip would be not to publish anything on social media that is a leak or
unpublished work of watchtower. or if you are doing that it must be done from a
neutral ip address and vpn.

i published a leaked video. this allowed watchtower to get a copyright strike on my
youtube channel which gave them ammunition to get an easy subpoenas using the
DMCA. the subpoena is not directed at me but rather at google. they are then
compelled to hand over all contact details for the infringing account.

in my case google has not handed any info over but are awaiting the courts decision
on my motion to quash.

but short answer is, if you dont use anything directly copyrighted to watchtower they
will never be able to find you without you revealing who you are to someone online.

hope that helps answer your question @

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to remove any danger of being outed take privacy steps or dont use their stuff
MM Reply Share Report Save

4 = Asterios390528 lpoint - 2 days ago
# it does for sure, thank you - and a good tip for anyone else thinking about it.
W@ Reply Share Report Save

# = FrodeKommode @ i2points - 6daysago - edited 6 days ago
= This is huge, we all got your back u/darkspilver !

['Il stic <y this as soon as I'm sure I can free one up.

[ just ignored my subpoena, so Google probably gave them all my IP-adresses (Hi, there Paul
Pol do-o;-))

But I'm happy to see that Darkspilver is fighting this on behalf of all of us!

™ Reply Share Report Save

Throwaway20180911 The voice definitely went to his head 12 points - 6 days ago
I suspect similar things have been happening for a while. High profile accounts suddenly going
dark or deleted.

¢+»>

It's very telling that WT fears the free and open discussion of ideas. They must not have much
confidence in the strength of their ideological position if they have to go through such lengths to
silence dissent.

Although, they do worship a deity who is said to plan the extermination of all who disagree with
him. ;-)
W@ Reply Share Report Save

beardgate Measuring pyramids since 1891. 11 points - 6 days ago
Best of luck u/darkspilver

¢»>

@ Reply Share Report Save

Strange_AnOmaly 7 points - 6 days ago
Hooray!
@ Repty Share Report Save

«>

TheGreatFraud molesterofbees 8points - 5 days ago
IANAL, but as the EFF says, all of the things they are accusing him of seem to obviously fall under
fair use.

¢»

I wonder what their case even is, unless their only aim is to unmask/disfellowship him.

There are a lot of us here Watchtower, and we know your dirt. Good luck shutting us all up.
@ Reply Share Report Save

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+

And here I am wondering what happened to darkspliver. Thank you for fighting back!
™@ Reply Share Report Save

TerryLawton Overlapping what? Matt1v17 6 points - 6 days ago
https://www.reddit,com/r/exjw/comments/b6300m/efforg_udarkspilver/
™® Reply Share Report Save

>

Case29 4 points - 5 days ago
So watchtower can Eff off @... love it

«>

@ Reply Share Report Save

EinDenker A humble apostate from r/exzj 2 points - 5 days ago
Sad to see that another activist is silenced thru a missuse of copyrights.
@ Reply Share Report Save

¢>

notrab i point » 5 days ago

Don't forget about https://faithleaks.org/
™@ Reply Share Report Save

>

flyingdutchman007 1 point - 4 days ago
its amazing that the same freedom of speech that JWs fought before the US Supreme Court in the
1940s are NOW begin used to fight for the rights of darkspilver.

¢+>

how ironic indeed!!!
@ Reply Share Report Save

https:/Avww.reddit.com/r/exjw/comments/b5x1pO/eff_backs_redditor_in_fight_to_stay_anonymous/ 6/6
